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CIVIL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK: HOUSING PART F

 

X
MARINER’S COVE SITE B ASSOCIATES,
Petitioner-Landlord
DECISION & ORDER
-against- Index No.: L&T 63974/14/16
HON. SABRINA B. KRAUS
DR. STEVEN GREER
200 RECTOR PLACE, Apt. 35F
New York, New York 10280
Respondent-Tenant X

 

Petitioner’s motion (seq no 12) is granted to the following extent:

Purasuant to CPLR 2606, The commissioner of Finance is directed to release and pay to
Petitioner Mariners Cove Site B associates $44,135.00 currently being held on deposit, plus
accrued interest less lawful fees, and mail said fnds to Mariners Cove Site B Associates c/o
Rosenberg & Estis PC, 733 Third Avenue, New York, New York 10017, attn Deborah Riegel,

Esq.

Petitioner is the prevailing party in this litigation and the underlying lease provides for
attorneys’ fees. The matter is set down for a hearing to determine the reasonable amount of
attorneys’ fees to be awarded to Petitioner. The hearing shall be Novemberl7th, 2016, at 2 pm in

Part F.

This constitutes the decision and order of this court.

Dated: October 24, 2016 ll_,-""

New York, NY l _ '“?
r.'_“ _
Hon. Sabrina l§.-_Kraus, J.H.C.

 

